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                                    United States District Court
                                                              for the

                                                  Eastern District of Virginia                         t   r

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                  United States of America
                               V.

                                                                        Case No.
               Jerry Chun Shing Lee, a/k/a
                      Zhen Cheng Li                                                 I-IS'MI- 1-^

                        Defendant(s)


                                               CRIMINAL COMPLAINT

        I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On orabout the date(s) of                 August 15, 2012               in the county of               Fairfax, Virginia    in the

     Eastern          District of           Virginia         , the defendant(s) violated:
             Code Section                                                   Offense Description

    18 U.S.C. Section 793(e)                      Unlawful retention of documents relating to the national defense




        This criminal complaint is based on these facts:


         SEE ATTACHED AFFIDAVIT




        Sf Continued on the attached sheet.

                                                                                    -li.


        Reviewed by AUSA/SAUSA:                                         C                           xplainant's signature


        Essistant U.S. Attorney Neil Hammerstrom                                   Kellie R. O'Brien, Special Agent, FBI
                                                                                              Printed name and title


Sworn to before me and signed in my presence.
                                                                                            ./S/.
                                                                            John F. Anderson
Date:             01/13/2018                                                United States Magistrate Judge
                                                                                                Judge's signature

City and state:                     Alexandria, Virginia                    John F. Anderson, United States Magistrate Judge
                                                                                              Printed name and title
